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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                     No. 4:05CR00305 (12, 13, 17, 26 & 34)           SWW

JASON CHRISTOPHER CALICOTT, ET AL.

               AMENDED PRELIMINARY ORDER OF FORFEITURE
                        Fed.R.Crim.P. 32.2(b)


      1.   On December 7, 2005, the grand jury returned an

indictment that included two forfeiture allegations.

      2.    Forfeiture Allegation 1 sought the forfeiture of the

following items, pursuant to Title 21, United States Code,

Section 853:

FIREARMS AND AMMUNITION:

      A.    one Taurus 38 Special, .38 caliber revolver and
            ammunition, serial number VH38274, seized on March 18,
            2004 from Jason Christopher Calicott, a/k/a Kool Aid,
            and Louis Austin Graham, and Shawn M. King in Little
            Rock, Arkansas;
      B.    one Baretta 9mm Model 92FS, serial number BER297442,
            seized on March 18, 2004 from Jason Christopher
            Calicott, a/k/a Kool Aid, Louis Austin Graham, and
            Shawn M. King in Little Rock, Arkansas;
      C.    one Rock Island Armory .45 caliber firearm, serial
            number RIA914209, seized on March 18, 2004 from Jason
            Christopher Calicott, a/k/a Kool Aid, Louis Austin
            Graham, and Shawn M. King in Little Rock, Arkansas;
      D.    one Remington 870 Express 12 gauge shotgun, serial
            number D603902M, seized on March 18, 2004 from Jason
            Christopher Calicott, a/k/a Kool Aid, Louis Austin
            Graham, and Shawn M. King in Little Rock, Arkansas;
      E.    one Mossberg Maverick 88, 12 gauge shotgun, serial
            number MV59264J, seized on March 18, 2004 from Jason
            Christopher Calicott, a/k/a Kool Aid, Louis Austin
            Graham, and Shawn M. King in Little Rock, Arkansas;
      F.    one Winchester Model 70, 7mm firearm, serial number
            G2255410, seized on March 18, 2004 from Jason
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          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     G.   one Glock 40 caliber handgun, serial number DUA407US,
          seized on April 4, 2005, from Paul Lee Oglesby in
          Maumelle, Arkansas;
     H.    one Keltek 40 caliber, serial number 83048, seized on
          April 8, 2005 from Jason Christopher Calicott, a/k/a
          Kool Aid, in Little Rock, Arkansas;
     I.   one Davis Arms .32 caliber pistol with clip, serial
          number 508614, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     J.   one Colt .25 caliber pistol, serial number 11045,
          seized on March 18, 2004 from Jason Christopher
          Calicott, a/k/a Kool Aid, Louis Austin Graham, and
          Shawn M. King in Little Rock, Arkansas;
     K.   one Bauer .25 caliber pistol with clip, serial number
          025651, seized on March 18, 2004 from Jason Christopher
          Calicott, a/k/a Kool Aid, Louis Austin Graham, and
          Shawn M. King in Little Rock, Arkansas;
     L.   one Raven .25 caliber pistol with clip, serial number
          1816314, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     M.   one Rossi rifle/shotgun .22 caliber and .410, serial
          number SP487197, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     N.   one Intertec Luger 9mm, Model Tec-DC9, serial number
          D002084, seized on March 18, 2004 from Jason
          Christopher Calicott, a/k/a Kool Aid, Louis Austin
          Graham, and Shawn M. King in Little Rock, Arkansas;
     O.   one Heritage Rough Rider .22 caliber pistol, serial
          number JR27755, seized on August 7, 2005 from Timothy
          Mark Ison in Little Rock, Arkansas;


     3.   Forfeiture Allegation 2 sought the forfeiture of the

following items, pursuant to Title 18, United States Code,

Section 982(a)(1):

          1.   All money and other property that was the subject
               of each transaction, transportation, transmission
               or transfer in violation of Section 1956;


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          2.   All commissions, fees and other property
               constituting proceeds obtained as a result of
               these violations; and
          3.   All property used in any manner or part to commit
               or to facilitate the commission of those
               violations, including but not limited to: wire
               transfers and financial institution deposits
               totaling approximately $ 140,000.00.

     4.   On March 14, 2006, defendant Shawn Luepkes pled guilty

to a Superseding Information and agreed to forfeit the items set

forth in Paragraph 2 of this Order in addition to the following:

     U. S. CURRENCY:

     A.   Approximately $4,226.00 seized on March 18, 2004, from
          Jason Christopher Calicott, a/k/a Kool Aid, and Lewis
          Austin Graham, and Shawn M. King, in Little Rock,
          Arkansas;
     B.   Approximately $1,240.00 seized on April 4, 2005 from
          Paul Lee Oglesby in Maumelle, Arkansas;
     C.   Approximately $4,185.00 seized on April 8, 2005 from
          Jason Christopher Calicott,a/k/a Kool Aid, and in
          Little Rock, Arkansas;

     5.   On March 30, 2006, the Court entered a Preliminary

Order of Forfeiture directing defendant Luepkes to forfeit the

items set forth in Paragraph 4 of this Order.

     6.   A.   On August 25, 2006, defendant Jason Christopher

Calicott pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          B.   On September 5, 2006, defendant Dawn Elizabeth

Anzalone pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.




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          C.   On August 31, 2006, defendant Terry Glen Birdwell

pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.

          D.   On August 24, 2006, defendant Larry Branum pled

guilty and agreed to forfeit the items set forth in Paragraph(s)

2 and 3 of this Order.

          E.   On August 23, 2006, defendant Cynthia Lee Brown

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          F.   On August 10, 2006, defendant Christopher Stephen

Brucks pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.

          G.   On August 31, 2006, defendant Cynthia C. Calicott

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          H.   On August 10, 2006, defendant Kristy Castelli pled

guilty and agreed to forfeit the items set forth in Paragraph(s)

2 and 3 of this Order.

          I.   On August 10, 2006, defendant Luetta Faye Garnett

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          J.   On August 2, 2006, defendant Patrick R. Gentry

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.


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          K.     On August 31, 2006, defendant Lewis Austin Graham

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          L.     On August 31, 2006, defendant Jerry Alan Grissom

pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.

          M.     On August 31, 2006, defendant Cyndia Natasha

Hammett pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          N.     On July 6, 2006, defendant Joe Edward Hammett pled

guilty and agreed to forfeit the items set forth in Paragraph 2

of this Order.

          O.     On August 23, 2006, defendant Chucky Don Hartwick

pled guilty and agreed to forfeit the items set forth in

Paragraph 3 of this Order.

          P.     On August 24, 2006, defendant James Frederic

Howard pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.

          Q.     On September 5, 2006, defendant Timothy Mark Ison

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          R.     On August 17, 2006, defendant Krystal Dawn

Journigan pled guilty and agreed to forfeit the items set forth

in Paragraph 2 of this Order.


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          S.     On September 5, 2006, defendant Shawn M. King pled

guilty and agreed to forfeit the items set forth in Paragraph 2

of this Order.

          T.     On September 8, 2006, defendant Mark Duane Lee

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          U.     On September 5, 2006, defendant Holly Danielle

Longoria pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          V.     On March 14, 2006, defendant Shawn Luepkes pled

guilty and agreed to forfeit the items set forth in Paragraph 2

of this Order.

          W.     On August 17, 2006, defendant James Samuel

Mitchell pled guilty and agreed to forfeit the items set forth in

Paragraph 2    of this Order.

          X.     On August 24, 2006, defendant Meagan Elizabeth

Montgomery pled guilty and agreed to forfeit the items set forth

in Paragraph 2 of this Order.

          Y.     On August 21, 2006, defendant Paul Lee Oglesby

pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.

          Z.     On August 10, 2006, defendant Frederick W.

Robinson pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.


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          AA.   On August 24, 2006, defendant Peggy Lucille

Rodriguez pled guilty and agreed to forfeit the items set forth

in Paragraph 2 of this Order.

          BB.   On August 29, 2006, defendant Burlie Wade Rogers

pled guilty and agreed to forfeit the items set forth in

Paragraph 2 of this Order.

          CC.   On August 9, 2006, defendant Samuel Baxter Sanders

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

          DD.   On August 30, 2006, defendant Jefferson Van Allen

pled guilty and agreed to forfeit the items set forth in

Paragraph(s) 2 and 3 of this Order.

     IT IS HEREBY ORDERED THAT:

     7.   As the result of the guilty pleas and stipulations for

forfeiture referred to above, in addition to the evidence already

in the record, the following defendants shall forfeit to the

United States the property set forth in paragraph 2 of this

Order, pursuant to Title 21, United States Code, Section 853:

Jason Christopher Calicott
Dawn Elizabeth Anzalone
Terry Glen Birdwell
Larry Branum
Cynthia Lea Brown
Christopher Stephen Brucks
Cynthia C. Calicott
Kristy Castelli
Luetta Faye Garnett
Patrick R. Gentry
Lewis Austin Graham
Jerry Alan Grissom

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Cynda Natasha Hammett
Joe Edward Hammett
James Frederic Howard
Timothy mark Ison
Krystal Dawn Journigan
Shawn M. King
Mark Duane Lee
Holly Danielle Longoria
Shawn Luepkes
James Samuel Mitchell
Meagan Elizabeth Montgomery
Paul Lee Oglesby
Frederick W. Robinson
Peggy Lucille Rodriguez
Burlie Wade Rogers
Samuel Baxter Sanders
Jefferson VanAllen

     8.      As the result of the guilty pleas and stipulations for

forfeiture referred to above, in addition to the evidence already

in the record, the following defendants shall forfeit to the

United States the property set forth in paragraph 3 of this

Order, pursuant to Title 18, United States Code, Section

982(a)(1):

Jason Christopher Calicott
Larry Branum
Cynthia Lea Brown
Cynthia C. Calicott
Kristy Castelli
Luetta Faye Garnett
Patrick R. Gentry
Lewis Austin Graham
Cynda Natasha Hammett
Chucky Don Hartwick
Timothy Mark Ison
Mark Duane Lee
Holly Danielle Longoria
Samuel Baxter Sanders
Jefferson VanAllen




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     9.    Upon the entry of this Order, the United States

Attorney General (or a designee) is authorized to seize the above

listed property and to conduct any discovery proper in

identifying, locating, or disposing of the property subject to

forfeiture, in accordance with Fed.R.Crim.P. 32.2(b)(3).

     10.   Upon entry of this Order, the United States Attorney

General (or a designee) is authorized to commence any applicable

proceeding to comply with statutes governing third party rights,

including giving notice of this Order.

     11.   The United States shall publish notice of the order and

its intent to dispose of the property in such a manner as the

United States Attorney General (or a designee) may direct.            The

United States may also, to the extent practicable, provide

written notice to any person known to have an alleged interest in

the Subject Property.

     12.   Any person, other than the above named defendant,

asserting a legal interest in the Subject Property may, within

thirty days of the final publication of notice or receipt of

notice, whichever is earlier, petition the Court for a hearing

without a jury to adjudicate the validity of his alleged interest

in the Subject Property, and for an amendment of the order of

forfeiture, pursuant to Title 21 U.S.C. §853(n)(2).

     13.   Pursuant to Fed.R.Crim.P. 32.2(b)(3), this Preliminary

Order of Forfeiture shall become final as to the defendants at


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the time of sentencing and shall be made part of the sentence of

the defendants, and included in the judgments.         If no third party

files a timely claim, this Order shall become the Final Order of

Forfeiture, as provided by Fed.R.Crim.P. 32.2(c)(2).

     14.     Any petition filed by a third party asserting an

interest in the Subject Property shall be signed by the

petitioner under penalty of perjury and shall set forth the

nature and extent of the petitioner’s right, title, or interest

in the Subject Property, the time and circumstances of the

petitioner’s acquisition of the right, title, or interest in the

Subject Property, any additional facts supporting the

petitioner’s claim and the relief sought.

     15.     After the disposition of any motion filed under

Fed.R.Crim.P. 32.2(c)(1)(A) and before a hearing on the petition,

discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

     16.     The United States shall have clear title to the Subject

Property following the Court’s disposition of all third-party

interests, or, if none, following the expiration of the period

provided in 21 U.S.C. § 853(n)(2) for the filing of third party

petitions.




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     17.   The Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary, pursuant to Fed.R.Crim.P.

32.2(e).

     SO ORDERED this 27th day of November, 2006.


                                       /s/Susan Webber Wright

                                       UNITED STATES DISTRICT JUDGE




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